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IN THE UNITED STATES DISTRICT COURT _ United states Courts
uthem District of Texas
FOR THE FILED
SOUTHERN DISTRICT OF TEXAS MAY 17 2001

HOUSTON DIVISION

OLGA P. BLAKLEY, M.D., P.A., NO. 4:20-cev-02962

*
NATALIE BLAKLEY, AND *
JULIA BLAKLEY
VERSUS * JUDGE GEORGE HANKS, Jr
*
*
*

NORMAND F. PIZZA AND
MILLING BENSON WOODWARD LLP MAGISTRATE EDISON

KERR RR ERE ER ES ER ER ER ERE EER ER ERR EERIE CR IR EEE RRR RE EERE ERR ES

PLAINTIFF OLGA P. BLAKLEY, MLD., P.A.,
SUPPLEMENTED RENEWED MOTION TO RECONSIDER AND
ALLOW DISCOVERY FOR THE TRIAL BY JURY.

TO THE HONORABLE JUDGE OF THIS COURT:

NOW INTO COURT, comes Plaintiff Olga P. Blakley M.D., P.A., et al, and is respectfully
submitting a Supplemented Renewed Motion in accordance with Federal Rules of Civil
Procedurés 50(b), 52(a), 59 and 60, due to still pending entry of the order issued disposing
remaining Motion to reconsider and allow discovery for the Jury Trial in the abovementioned
case, that has been entered on the docket for 03/30/2021, then subsequently for 04/17/2021.

qt) In n light of a new Supreme Court ruling in March 2021, in Ford Motor Co. v. Montana Eighth

j ourt, the Supreme Court held that a state may, under certain (frequently
occurring) circumstances, exercise personal jurisdiction over an out-of-state company when the
plaintiff is a resident of the state and was injured in the state, even if the company’s allegedly
tortious conduct occurred outside the state.

 

The decision expands the circumstances under which companies may be subject to personal
jurisdiction in a state.
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‘A unanimous Supreme Court held in its principal opinion, authored by Justice Kagan, placed
emphasis-on the disjunction of the phrase “arise out of or relate to.” It means, said the Court,
that a state may exercise specific personal jurisdiction over a defendant even if the plaintiff's
injury was not caused by—i.e., does not arise out of—the defendant’s in-state conduct.

It is, the Court held, sufficient that the plaintiff's injury “relates to” a defendant’s in-state
activity.

The Supreme Court strongly suggested, that a state may exercise specific personal jurisdiction
over an out-of-state company defendant only if the plaintiff resides and was injured in that
state (which plaintiff in this case satisfies this requirement).

The Supreme Court ruling affirmed that now nationally active companies (which Defendants
Milling Benson LLP advertise themselves as such — see paragraph 2) are potentially subject to
suit in any state in which a resident plaintiff suffers injury from the corporation’s products or
services,

2) Milling Benson LLP advertising themselves as nationally and internationally active company

 

as follow:

 

   

https://www.millinglaw.com/about-us/

https://louisianarecord.com/stories/584210903-law-firm-harass 2d-and-discriminated-against-
female-attorney-for-being-pregnant-lawsuit-says

Milling Benson Woodward L.L.P. was founded in 1896 and currently has offices in New Orleans,
Baton Rouge, and Northshore New Orleans.

“Our Firm has represented clients in domestic and international business transactions,
litigation, arbitration, and maritime matters involving clients’ activities throughout the United
States, Canada, Europe, Central and South America, Russia, Australia and the Pacific Rim,
including Indonesia and Japan. As the first law firm in Louisiana to subscribe to the American
Bar Association Law Pro Bono Project, Milling Benson Woodward L.L.P. has a long history of
commitment to public service and the betterment of our community. Firm partners have
served as Chair of the Louisiana State Law Institute, as Presidents of the New Orleans Bar
Association, and as Presidents of the Louisiana State Bar Association. They have also served on
the Board of Governors of the American and National Bar Associations, among many other
legal, leadership, and professional distinctions.
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The Firm seeks to provide the highest quality of legal services through effective and creative
representation. To that end, we utilize our principal resources: the talent and expertise of our
lawyers, our collective experience and accumulated work product, the dedication of our ~
support staff, the latest in technological support, and our tradition of rendering prompt,
efficient and effective legal services.

The Firm is committed to rendering services in an economical manner. A number of billing
arrangements are offered as alternatives to standard hourly rates. The Firm is a signatory to the
Center for Public Resources, Inc., Statement of Alternatives to Litigation, and subscribed to its
Policy Statement by pledging to use alternatives dispute resolution procedures, where
appropriate, to reduce our clients’ costs and the burden of litigation.

Contrary to Milling’s public statement on their website, Miiling has consistently refused
' arbitration by the Louisiana Bar Association. See Attached.

3) Further, in the past the U.S. Supreme Court had restricted the ability to sue out-of-state
defendants without their consent. But at the present time with new progressive changes in our
society in Ford Motor Co. v. Montana Eighth Judicial District
(httpsuwww.supremecourt,oviopinionsizop409-368_febh.pdp, the court allowed an out-of-
state company to be sued. .

The SCOTUS decision in March, 2021 expanded allowance of personal jurisdiction,

The Defendants in the case before this Honorable Court had numerous contacts with the
Plaintiff in the home state of Texas — where the Plaintiff signed the Representation agreement
here, where the Plaintiff was performing her contractual obligations, where the Defendants
regularly sent electronic and written communications to Plaintiff there, and the injury and
damages occurred here, in Texas.

In the past Supreme Court held that unless the defendant consents to jurisdiction of the court,
an out-of-state defendant can be sued only if it has "minimum contacts” with a state.

The court previously had found that the activities of the sales representatives (Normand Pizza
and Milling Benson) of an out-of-state company—exhibiting or proclaiming examples of self-
proclaimed previously successful, “efficient and effective services” (that was a deceptive
advertisement as subsequently discovered from ex-clients of Normand Pizza and Milling
Benson, who breached the contract on numerous occasions and failed their fiduciary duties
and failed to work in the best interest of the client(s), thus causing damages to their clients);
and soliciting orders from prospective buyers and conducting interstate business.
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The court thus previously found personal jurisdiction and concluded that it is constitutionally
permissible when a defendant has minimum contacts with the state where a lawsuit is brought
such that notions of fair play and substantial justice would not be offended (which would not
be offended by nationally active company Milling Benson LLP participating in the trial in Texas,
but would be offended if Plaintiff a solo provider woman with dependent children would be
forced to travel to seek justice out of their home state to Louisiana, where Defendant

Specific jurisdiction exists where the defendant's contacts with the state give rise to the cause of
action. The court has restricted this, too, in recent years. For exa mple, in Walden v. Fiore
(https://www.supremecourtgov/ opinions/ 13pdf/ 12-574_8mj9.pdf) (2014), the court stressed
that it is not enough that the defendant's conduct would foreseeably cause injury in a state;
there is not personal jurisdiction if the defendant did not have the contacts with the state
where the suit is brought.

Supreme Court finds personal jurisdiction

The court declared: "When a company like Ford serves a market for a product in a state, and that
product causes injury in the state to one of its residents, the state's courts may entertain the
resulting suit." Kagan's majority opinion stressed two factors in finding specific jurisdiction:
purposeful availment and relatedness.

The fact that the vehicles were purchased in other states did not matter. The court
explained that Ford's marketing in these states and the availability of its service there well
could have caused these plaintiffs to purchase the Ford vehicles.

in her opinion in Ford Motor Co. v. Montana Eighth Judicial District, Kagan distinguished the
case based on the plaintiffs. She said that in Bristol Myers Squibk, the plaintiffs had not been
prescribed the drug, Plavix, in California, and they had not ingested it there or been injured
there. (Exhibit A)

4) Actively advertised as nationally active company, Milling Benson wouldn’t be prejudiced in
the participating in the trial in Texas; however, the Plaintiff —a solo provider minority woman, a
mother of 3 (three) dependent children, with severe health problems who suffered 2 (two)
heart attacks caused by the stress of litigation imposed by the Defendants - would be severely
prejudiced if this court would force her to travel for the trial out of state.

5) It has been long decided, that forum’s state duty is to protect the interests of its citizens —
such as in this case — a minority woman and her dependent children.

6) Defendants Normand Pizza and Chadwick Collings of Milling Benson LLP, have been acting
very discriminatory against the plaintiff - minority woman and her dependent children, treating
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the plaintiff very diminishing and as unworthy of any consideration. When requested by the
plaintiff - woman in life-threatening health condition after near-deadly heart attack to allow her
some time to recover and regain physical and psychological strength after the heart attack,
Chadwick Collings replied that he didn’t care and refused any human consideration to allow the
woman time for recovery, as her weak condition causing her physical inability to participate in
litigation would be beneficial for him being a strong man to prevail over the weak woman.

Defendant Normand Pizza didn’t consider his client-woman to be worthy of making the
informed consent and revealing her his pre-existing professional and personal conflicts of
interest with Plaintiff’s opposing party.

(See Exhibit attached of other Defendant’s discriminatory and diminishing actions against
woman for her decision to have children that she would need to be present for — as in this case

the woman-plaintiff had requested defendants simply some time to recover to stay alive for her
children).

7) There is a newly discovered evidence that Defendant Normand Pizza represented 9 out of
13 state of Louisiana judges before judicial commission in Louisiana (See Exhibit B). This
creates very strong conflict of interest, having so many judges in Louisiana as ex-clients of
defendant’s Normand Pizza/ Milling Benson. Therefore, the Plaintiff would be severely
prejudiced if this Honorable Court would disregard this circumstance as the justice could not
be expected to be impartial in the state of Louisiana, in case if the forum state of Texas, decline
her right for the trial by jury in Texas, that Plaintiff requested and paid for. (See Exhibit B).

The Plaintiff is requesting that notions of fair play and substantial justice would not be
offended against her rights of fair play and substantial justice.

8) The Plaintiffs (Ethnic minority woman and her dependent children) would be irreparably
harmed ifthe case in not tried in Texas, but referred to Louisiana.

9) Plaintiff's is asserting her civil and constitutional rights to be protected by this court.
10) Plaintiff was denied a right to be fully heard on the issue by being denied an opportunity to

participate in Pre-Trial conference, that the Plaintiff could not participate due to heart attack,
and was prejudiced by that.
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11) Also, the Plaintiff has been repeatedly respectfully requesting to be allowed Electronic Filing
in the abovementioned case that has been requested numerous times and has been allowed to
other Pro Se litigants, but has not been allowed to the Plaintiff in this case as evidencing
prejudice as the adversary party has been allowed electronic filing in this case. _

- The grounds for reconsideration are outlined in the submitted motion docketed for
03/30/2021, and subsequently for 04/17/2021.

Therefore, the handling of this case should be reconsidered, and reassigned to another Judge
for the trial in accordance with the right for the trial by jury as the case has been filed and paid
for (Not for the unilateral decision and disposition by the judge), as the trial has not been

conducted.

Chadwick W. Collings

Respectfully submitted,

Olga P. Blakley M.D., P.A. et al on 5/14/21
via in court submission

electronic submission has not been
allowed yet to a Pro Se Litigant -Woman
after a Heart Attack)

s/Olga P. Blakley
Olga P. Blakley M.D., P.A.
Pro Se
c/o William R. Pakalka

Attorney at Law
11 Lorrie Lake Lane

Houston, Texas 77024-7119
(713) 781-5083

billpakalka@yahoo.com
Cec — via Email
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The Plaintiff is objecting to mishandling due to severe continuous discrimination,
bias and violation of the civil and constitutional rights, including guaranteed by the
Constitution right for Equal Protection.

1. Plaintiff (minority woman) was not allowed Electronic filing as other
Pro Se Litigants (men) were allowed, as documented and recorded on
December 17, 2020 Pre-Trial Conference. This is a gender discrimination.

2. Other Pro Se litigants were allowed convenience of electronic filing via
2 (two) different means — via email and via submission on Pacer (even
without having severe health problems reported to the Court) — as evidenced
and documented in the recorded Pre-Trial Conference held by Judge Edison
on December 17, 2020. However, the Plaintiff up to date has Not been
allowed convenience of electronic filing submission to this same Court,
despite having filed a written request for such electronic submission, and
despite having suffered near Lethal Heart Attack — this is unspeakable,
unthinkable, unexplainable discrimination, with bias in favor of the
Defendants (professional lawyers); making it much more difficult for the
Plaintiff to participate in the case, and creating additional stress on the
Plaintiff.
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3. In this modern society of the United States of America in 21-st century,
with developed electronics, Defendants (lawyers) being allowed to file All of
Their Legal Filings Electronically — but the Plaintiff (a Pro Se litigant) was
Not allowed Electronic filing even in in leu of national disaster of COVID
pandemic, and was forced to file in person. This is incomprehensible, biased
and discriminatory handling of Judge Edison in apparent favor of
Defendants — lawyers.

4. Judge Edison has been apparently biased in favor of his legal profession
colleagues —Defendant lawyers Pizza, and Milling, Benson. During Pre-Trial
Conference, the legal jargon discussion was about “Pretty Vanilla Case”
presentation by the lawyers, with the Plaintiff, being Pro Se litigant without
legal education, could not present any “Pretty Vanilla Case”, as this is a
heart-breaking case with near death heart attack experience, caused by the
stress, pain and suffering caused by the Defendants; and near-complete
destruction of family, children’s lives and finances; caused by the
Defendants.

5. Plaintiffs submitted Unopposed Motion to Continue, as the Defendants
were “indifferent” and did not oppose to the Motion to Continue Due to
Heart Attack — but apparently biased Judge Edison did not grant even
Unopposed motion to continue due to personal tragedy of the Plaintiff — as
there is nothing is much worse of the personal tragedy, as tragedy having
Near Death personal heart attack, that Plaintiff had during the course of
this case, that was not considered or respected by Judge Edison, despite

his own promise (as evidenced and documented in the recording of the Pre-
Trial Conference on December 17, 2020) — to consider and allow additional
time in consideration of even “the holiday season” of Christmas, or “personal
tragedy” — as the Plaintiff had in this case — but was not respected or
considered by Judge Edison despite his own promise. Plaintiff had requested
to allow continuance to allow time for recovery after the heart attack to be
able to participate in Pre-Trial conference at the later date, but Judge
Edison did not allow to move the date of Pre-Trial Conference, so Plaintiff
could not participate due to fear to lose own life in case of possible re-
infarction in case of stress of participation in the stressful event. That is
another unhuman, unthinkable, unexplainable example of bias and
discrimination by Judge Edison.
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U.S. SUPREME COURT

Chemerinsky: Despite SCOTUS
ruling, questions of personal
jurisdiction remain unsettled

BY ERWIN CHEMERINSKY (aTTPps://www.ABAJOURNAL.COM/AUTHORS/9822/)
MAY 3, 2021, 8:52 AM CDT

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Erwin Chemerinsky. Photo by Jim Block.

For the last two decades, the U.S. Supreme Court has consistently restricted the
ability to sue out-of-state defendants without their consent. But in Ford Motor

Co. v. Montana Eighth Judicial District (htips://www.supremecourt.gov/ opinions/ 20pdf/ 19-368_febh.pdf),

the court allowed an out-of-state company to be sued.

The decision, handed down in March, is important in clarifying the law of
personal jurisdiction, but it also raises many questions that will confront lower
state and federal courts and ultimately need Supreme Court resolution.

Some background
Every first-year law student in civil procedure reads the famous case of
International Shoe v. State of Washing ton (https://www.law.cornell.edu/supremecourt/text/ 326/310)

(1945). Before this case, the court long had ruled that due process limits the
ability to sue an out-of-state defendant without its consent. In International Shoe,
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the Supreme Court held that unless the defendant consents to jurisdiction of the
court, an out-of-state defendant can be sued only if it has “minimum contacts”
with a state.

The court found that the activities of the sales personnel of an out-of-state shoe
company—exhibiting samples of merchandise and soliciting orders from
prospective buyers—were systematic and continuous and resulted in a large
volume of interstate business. The court thus found personal jurisdiction and
concluded that it is constitutionally permissible when a defendant has minimum
contacts with the state where a lawsuit is brought such that notions of fair play
and substantial justice would not be offended.

In the decades after International Shoe, the court found two ways of finding

minimum contacts: general jurisdiction and specific jurisdiction. Both have been
greatly narrowed in recent years. It used to be that general jurisdiction could be
found if the defendant, in the words of International Shoe, had “continuous and

systematic’ contacts with the state.

But in cases such as Goodyear Dunlop Tires Operations v. Brown
(https://supreme.justia.com/ cases/ federal/us/564/915/#tab-opinion- 1963650) (201 1 ) and Daimler AG v.
Bauman (https//www law.cornell.edu/supet/ pdf/ 11-965, pdf) (2014), the court held that general

jurisdiction exists only when a defendant is “essentially at home’ in the state. An
individual is subject to general jurisdiction in his or her state of domicile, and a
corporation is “home” in the state where it is incorporated or has its principal
place of business.

Specific jurisdiction exists where the defendant’s contacts with the state give rise
to the cause of action. The court has restricted this, too, in recent years. For
example, in Walden v. Fiore (hitps//www.supremecourt.gov/opinions/ 13pdf/ 12-574_8mj9.pdf) (2014) ;

the court stressed that it is not enough that the defendant’s conduct would
foreseeably cause injury in a state; there is not personal jurisdiction if the
defendant did not have the contacts with the state where the suit is brought.
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Most recently in Bristol-Myers Squibb Co. v. Superior Court of California, San
Francisco County (https//www.law.cornell.edu/ supet/ pdf/ 16-466.pdf), (2017) , the Supreme Court

refused to allow out-of-state plaintiffs to sue a drug company for harms they
suffered, even though they were part of a lawsuit brought by plaintiffs of the
state who had suffered the same injury.

The court said, quoting Goodyear, that for specific jurisdiction, “there must be ‘an

affiliation between the forum and the underlying controversy,’ principally, [an]
activity or an occurrence that takes place in the forum state and is therefore
subject to the state’s regulation.” The court stressed that personal jurisdiction is
not only about fairness to the defendant; it also is about the constitutional reach
of a state’s territorial authority. |

There is no doubt that this trend in the law greatly favors defendants, making it
harder to hale them to other states to be sued and making it more difficult for
plaintiffs to bring suits in forums that are most convenient for them. In light of
this trend, the question was how much further the court would go in limiting
personal jurisdiction.

Suits against Ford Motor Co.

Two cases came to the Supreme Court together that involved individuals who
had been injured in Ford motor vehicles. Markkaya Gullett was driving a 1996
Ford Explorer near her home in Montana when the tread separated from a rear
tire. The vehicle spun out, rolled, and came to rest upside down. She died in the
accident, and her estate sued Ford in Montana.

Adam Bandemer was a passenger in his friend’s Ford Crown Victoria in
Minnesota, where he lived. The car was in an accident, and Bandemer’s air bag
failed to deploy. He was severely injured, suffering serious brain damage. He
sued Ford in Minnesota state court.

Ford moved to dismiss both suits for lack of personal jurisdiction. There was no
general jurisdiction because Ford was not incorporated and did not have its
principal place of business in either Montana or Minnesota. Ford argued that
there was not specific jurisdiction because in neither case had its contact with
the states given rise to the cause of action there. |
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Ford emphasized that in neither instance had it sold the cars in the state where
the accident occurred; the Explorer was initially sold in Washington and the
Crown Victoria in North Dakota. As the court noted, “only later resales and
relocations by.consumers had brought the vehicles to Montana and Minnesota.”
Ford said that it had designed the Explorer and Crown Victoria in Michigan, and
it had manufactured the cars in (respectively) Kentucky and Canada.

Supreme Court finds personal jurisdiction

The high court ruled against Ford in both cases, issuing a single opinion. The
result was unanimous, with Justice Elena Kagan writing for five justices. Justice
Samuel A. Alito wrote an opinion concurring in the judgment, as did Justice Neil
M. Gorsuch joined by Justice Clarence Thomas. Justice Amy Coney Barrett did
not participate because she was not on the bench when the cases were argued in
October 2020.

The court declared: “When a company like Ford serves a market for a product in
a state, and that product causes injury in the state to one of its residents, the

state’s courts may entertain the resulting suit.” Kagan’s majority opinion stressed
two factors in finding specific jurisdiction: purposeful availment and relatedness.

As for the former, the court said that Ford had purposely availed itself of both
Montana and Minnesota in its marketing, sales and servicing of cars in those
states. The court noted: “By every means imaginable—among them, billboards,
TV and radio spots, print ads, and direct mail—Ford urges Montanans and
Minnesotans to buy its vehicles, including (at all relevant times) Explorers and
Crown Victorias. Ford cars—again including those two models—are available for
sale, whether new or used, throughout the states, at 36 dealerships in Montana
and 84 in Minnesota.”

As for relatedness, the court stressed that “Ford had systematically served a
market in Montana and Minnesota for the very vehicles that the plaintiffs allege
malfunctioned and injured them in those states. So there is a strong ‘relationship
among the defendant, the forum and the litigation —the ‘essential foundation’ of
specific jurisdiction.”
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The fact that the vehicles were purchased in other states did not matter. The
court explained that Ford’s marketing in these states and the availability of its
service there well could have caused these plaintiffs to purchase the Ford
vehicles.

Questions left open

The court’s decision is notable, in part, simply because for the first time in years
the justices were willing to find personal jurisdiction over an out-of-state
defendant. The decision will be important in countless cases for its clarification
that specific jurisdiction is to be determined by purposeful availment and
relatedness.

But many questions remain. First, how is this case different from Bristol Myers
Squibb v. Superior Court, decided just four years earlier? That case involved out-

of-state plaintiffs (as well as in-state plaintiffs) suing a major corporation that
aggressively marketed and sold drugs in the state where it was sued. And the
lawsuit was for a particular drug that it regularly sold in that state.

In her opinion in Ford Motor Co. v. Montana Eighth Judicial District, Kagan
distinguished the case based on the plaintiffs. She said that in Bristol Myers
Squibb, the plaintiffs had not been prescribed the drug, Plavix, in California, and

they had not ingested it there or been injured there.

She said: “In short, the plaintiffs were engaged in forum-shopping—suing in
California because it was thought plaintiff-friendly, even though their cases had
no tie to the state.” But personal jurisdiction always has focused on the
defendant's contacts with the forum state. Now has the court explicitly made the
‘plaintiff's contacts important in personal jurisdiction analysis as well?

Second, what does it mean to “serve the market”? What does it mean to “[cause]
injury in the state’? This was an easy case given Ford Motor Company's size and
aggressive marketing in these states. But there is going to be much litigation
over how to apply the court's holding and how these lines are to be drawn.
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Third, what will be the importance of the opinions concurring in the judgment,
especially Gorsuch’s? Gorsuch questions International Shoe and especially the

distinction between general and specific jurisdiction (which he mistakenly
attributes to that decision).

Alito, in his opinion, says, “To be sure, for the reasons outlined in Justice
Gorsuch’s thoughtful opinion, there are grounds for questioning the standard
that the court adopted in International Shoe Co. v. Washington.” Might this suggest

future, even more major changes in the law of personal jurisdiction in the
future? .

 

Erwin Chemerinsky is dean of the University of Cal:fornia at Berkeley School of Law.
He is an expert in constitutional law, federal practice, civil rights and civil liberties, and
appellate litigation. He’s the author of several books, including The Case Against the
Supreme Court (Viking, 2014). His latest book is The Religion Clauses: The Case
for Separating Church and State, written with Howard Gillman (Oxford University
Press, 2020). |

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Lawsuit brought by FOX 8, Times-
Picayune over judge's records
delayec

By Rob Masson | March 1, 2013 at 8:47 PM CST - Updated July 11 at 1:25 AM

   

There is a delay in an effort by FOX 8 News and the Times-Picayune to learn more
about insurance policies purchased by Orleans Criminal Court judges with public
money.

FOX 8 and the newspaper are suing Criminal Court to learn more about those
purchases, the subject of a scathing report by the legislative auditor. The judges paid
back $72,000 to the Judicial Expense Fund after that report, but both news
organizations want to review the matter in detail.

"We want to know what policies were purchased, who benefited, and then after the
legislative auditor told the court you can't do that and when the policies were cashed in,
what money did you get back," said FOX 8 attorney Lori Mince.

According to Mince, Civil District Judge Ethel Simms Julien entered an order on Feb. 21
directing the judges to hand over their records of those payments by Friday, or explain
their refusal to do so. But that order was never served to the judges.

Mince said, "We delivered that order to the lawyer who represents the court, and he was
fully aware, but the law requires the sheriff to serve him."

The Orleans Parish Sheriff's Office failed to serve the court and its attorney a notice of
that order.

J

 

Mince said, "Seeing that the civil sheriff is here on Loyola and the judicial administrator
is at Tulane and Broad, it's unusual that they have not been served."

FOX 8 legal analyst Joe Raspanti said three days for service is not unusual.

"The failure of the court to turn over documents isn't surprising," Raspanti said. "I don't
think anyone should read too much into a lack of service here."

Complicating matters

 
   
 

Though three days may or may not be too soon to expect all parties in a legal matter to
be notified properly, there are ways to get legal notification done much faster. Raspanti
said, "There are things called 'instanter subpoenas' in this building, where lives are at
stake. This is about freedom of information."

All sides will return to court on March 15, and the plaintiffs are hoping that this time,
proper notification will be given to all parties,to turn over the requested documents.
Though our request for documents pertains to a $72,000 reimbursement, the legislative
auditor says that the judges spent a total of $600,000 on supplemental policies,
including life insurance.
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Orleans District Attorney Leon Cannizzaro recused himself from the case, since he’s a
former judge, and turned it over to the state attorney general for investigation. Friday
afternoon, AG spokesman Steven Hartmann told FOX 8 the office is now reviewing the

full legislative audit.
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Exhibit C

httos:/Awyw.millinglaw.com/about-us/

Milling Benson Woodward L.L.P. was founded in 1896 and currently has offices in New Orleans,
Baton Rouge, and Northshore New Orleans.

Our-Firm has represented clients in domestic and international business transactions, litigation,
arbitration, and maritime matters involving clients’ activities throughout the United States, Canada,
Europe, Central and South America, Russia, Australia and the Pacific Rim, including Indonesia and
Japan. As the first law firm in Louisiana to subscribe to the American Bar Association Law Pro Bono
Project, Milling Benson Woodward L.L.P. has a long history of commitment to public service and the
betterment of our community. Firm partners have served as Chair of the Louisiana State Law
Institute, as Presidents of the New Orleans Bar Association, and as Presidents of the Louisiana
State Bar Association. They have also served on the Board of Govemors of the American and
National Bar Associations, among many other legal, leadership, and professional distinctions.

The Firm seeks to provide the highest quality of legal services through effective and creative
representation. To that end, we utilize our principal resources: the talent and expertise of our
lawyers, our collective experience and accumulated work product, the dedication of our support staff,
the latest in technological support, and our tradition of rendering prompt, efficient and effective legal
services.

The Firm is committed to rendering services in an economical manner. A number of billing
arrangements are offered as alternatives to standard hourly rates. The Firm is a signatory to the
Center for Public Resources, Inc., Statement of Alternatives to Litigation, and subscribed to its Policy
Statement by pledging to use alternatives dispute resolution procedures, where appropriate, to
reduce our clients’ costs and the burden of litigation.
